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               EXHIBIT A
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Title:              Iron Sky.

Type of Material:   Motion Picture

Registration Number/Date:
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Description:        Electronic file (eService)

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